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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND

ROBERT WINNER, et al.,                              :

         Plaintiffs,                                :
                                                                   Case No.: 1:20-cv-3420
         v.                                         :

KELCO FEDERAL CREDIT UNION                          :

         Defendant                                  :


 DEFENDANT’S SUPPLEMENTAL OPPOSITION TO MOTION FOR SANCTION OF
   DEFAULT IN ACCORDANCE WITH COURT’S SEPTEMBER 2, 2021 ORDER
     GRANTING PLAINTIFFS’ UNCONTESTED MOTION FOR SANCTIONS

         Defendant, Kelco Federal Credit Union (“Kelco”), by and through its counsel, Ashley L.

Voli, Carly A. Chick, and Lewis Brisbois Bisgaard & Smith, LLP, files this Supplemental

Opposition to Plaintiffs’ Motion for Sanction of Default in accordance with the Court’s September

2, 2021 Order granting Plaintiffs’ uncontested Motion for Sanctions, and in support thereof, states

as follows:

         1.            On October 28, 2021, Kelco filed an Opposition to Plaintiff’s Motion for Sanction

of Default, detailing the diligent discovery efforts that had been made since the recent involvement

of undersigned counsel on behalf of Kelco, including regular communications with Plaintiff’s

counsel and the production of 126 pages of emails.

         2.            In a continued good faith effort to comply with discovery since the retention of

undersigned counsel, Kelco has informally produced a total of more than 1400 pages of documents

to Plaintiff and a list identifying 12 individuals with balloon loan payments during the time period

specified in Plaintiff’s discovery requests to Kelco.




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         3.            Additionally, Kelco expects that its ongoing investigation of information and

documents sought in discovery will be completed within the next week, at which time Kelco

intends to formally supplement its discovery responses to Plaintiff.

         4.            Under the circumstances, Kelco respectfully requests that this Honorable Court

take into consideration its continued diligent good faith discovery efforts and ongoing

communications with Plaintiff’s counsel, and that the Court deny Plaintiff’s Motion for Sanction

of Default, as no such sanctions are warranted in this situation.

                                                   Respectfully submitted,

                                                   /s/ Ashley L. Voli
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                                                   Attorneys for Kelco Federal Credit Union




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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 12th day of November, 2021, a copy of the foregoing
Supplemental Opposition to Motion for Sanction of Default in Accordance with the Court’s
September 2, 2021 Order Granting Plaintiffs’ Uncontested Motion for Sanctions was served via-
CMF/ECF to:


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                                             /s/ Ashley L. Voli__________________
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